                                                                                                      ***EFILED***
                                                                                     Case Number 2022LA000055
                                                                                         Date: 3/28/2022 12:30 PM
                                                                                                   Thomas McRae
                                                                                             Clerk of Circuit Court
                                                                   Third Judicial Circuit, Madison County Illinois

                             IN THE CIRCUIT COURT
                        FOR THE THIRD JUDICIAL CIRCUIT
                          MADISION COUNTY, ILLINOIS

ALICE McEWEN, as Independent      )
Administrator of the              )
Estate of AUSTIN McEWEN,          )
Deceased                          )            No.: 2022 LA 000055
                                  )
        Plaintiff,                )            Plaintiff demands trial by jury
                                  )
        v.                        )
                                  )
AMAZON.COM, INC., a               )
corporation,                      )
AMAZON LOGISTICS, INC., a         )
corporation                       )
CONTEGRA CONSTRUCTION             )
COMPANY, LLC, a limited liability )
company,                          )
TRISTAR PROPERTY ASSOCIATES, )
LLC,                              )
a limited liability company       )
STOCK & ASSOCIATES                )
CONSULTING ENGINEERS, INC.        )
a corporation,                    )
GRAY DESIGN GROUP, INC.,          )
a corporation and,                )
MCNEALY ENGINEERING, INC.,        )
a corporation.                    )
                                  )
        Defendants.               )

             PLAINTIFF’S SECOND AMENDED COMPLAINT AT LAW

      NOW COMES, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, through her attorneys, CLIFFORD LAW OFFICES, P.C., and

hereby complains in Plaintiff’s First Amended Complaint against the following Defendants,

AMAZON.COM, INC. (“AMAZON INC.”), AMAZON LOGISTICS, INC (‘AMAZON

LOGISTICS”), CONTEGRA CONSTRUCTION COMPANY, LLC (“CONTEGRA”), TRISTAR

PROPERTY ASSOCIATES, LLC (“TRISTAR”), STOCK & ASSOCIATES CONSULTING

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                                                                                    Exhibit A
ENGINEERS, INC. (“STOCK”), GRAY DESIGN GROUP, INC. (“GRAY”), and MCNEALY

ENGINEERING, INC. (“MCNEALY”)

                                        DEFENDANTS

       1.      Defendant, AMAZON INC., is a multinational technology company, the world’s

largest internet company, and the world’s largest retailer. Defendant, AMAZON INC., is a Fortune

100 company headquartered in Seattle, WA. Defendant, AMAZON INC., maintains, manages, and

controls over 100 “fulfillment centers” and/or “delivery stations” in the United States. These

“fulfillment centers” and/or “delivery stations” create a vast network for Defendant, AMAZON

INC., to deliver goods to customers in using these centers to store, ship, and deliver goods. On

December 10, 2021 and at all relevant times, Defendant, AMAZON INC., maintained a warehouse

or “delivery station” known as “DLI4” located in Edwardsville, Illinois. In addition, on December

10, 2021, and at all relevant times, Defendant, AMAZON INC., utilized a wide range of

independently contracted drivers and delivery carriers known as Delivery Service Partners to drive,

haul, and make deliveries for Defendant, AMAZON INC. On December 10, 2021, and at all

relevant times, the “delivery station” known as “DLI4” was operated, maintained, controlled, and

managed by employees and/or agents of Defendant, AMAZON INC.

       2.      Defendant, AMAZON LOGISTICS, is the delivery and logistics service provider

for Defendant, AMAZON INC., a multinational technology company, the world’s largest internet

company, and the world’s largest retailer. Defendant, AMAZON LOGISTICS, maintains,

manages, and controls over 100 “fulfillment centers” and/or “delivery stations” in the United

States. These “fulfillment centers” and/or “delivery stations” create a vast network for Defendant,

AMAZON INC. and AMAZON LOGISTICS, to deliver goods to customers in using these centers

to store, ship, and deliver goods. On December 10, 2021, and at all relevant times, Defendant,



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AMAZON LOGISTICS, maintained a warehouse or “delivery station” known as “DLI4” located

in Edwardsville, Illinois. In addition, on December 10, 2021, and at all relevant times, Defendant,

AMAZON LOGISTICS, utilized a wide range of independently contracted drivers and delivery

carriers known as Delivery Service Partners to drive, haul, and make deliveries for Defendant,

AMAZON INC and AMAZON LOGISTICS. On December 10, 2021, and at all relevant times,

the “delivery station” known as “DLI4” was operated, maintained, controlled, and managed by

employees and/or agents of Defendant, AMAZON LOGISTICS.

       3.      Defendant, CONTEGRA, is headquartered in Edwardsville, Illinois and maintains

members that are domiciled in Illinois. Defendant, CONTEGRA, is a construction and

development company that builds commercial retail buildings, warehouses, office buildings, and

institutions. Defendant, CONTEGRA, built, developed, and/or constructed an Amazon “delivery

station” known as “DLI4” located in Edwardsville, Illinois. Defendant, CONTEGRA, was under

contract with Defendants, AMAZON INC., AMAZON LOGISTICS, and/or TRISTAR, to build,

develop and/or construct the subject warehouse.

       4.      Defendant, TRISTAR, is headquartered in Missouri. Defendant, TRISTAR, is a

developer, redeveloper, and real estate acquirer of industrial real estate. Defendant, TRISTAR,

was the developer of an Amazon “delivery station” known as “DLI4” located in Edwardsville,

Illinois. Defendant, TRISTAR, was under contract with Defendants, AMAZON INC., AMAZON

LOGISTICS and/or CONTEGRA, to build, develop and/or construct the subject warehouse

located in Edwardsville, Illinois.

       5.      Defendant, STOCK, is a civil engineering and land surveying firm based in St.

Louis, Missouri. Defendant, STOCK, provided construction specifications, shop drawings, and

engineering specifications for the build of the subject “delivery station” known as DLI4 in



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Edwardsville, Illinois, including but not limited to construction specifications, shop drawings, and

engineering specifications to build the facility in a “tilt-up” manner.

        6.      Defendant, GRAY, is a master planning, design, and architecture firm based in St.

Louis, MO that was the architect for the subject “delivery station” known as DLI4 in Edwardsville,

Illinois.

        7.      Defendant, MCNEALY, is a structural engineering firm based in St. Louis,

Missouri that provides architectural restoration, structural engineering, and architectural

engineering services including such services for the subject “delivery station” known as DLI4 in

Edwardsville, Illinois.

                                             COUNTS

            COUNT I: WRONGFUL DEATH: NEGLIGENCE: AMAZON.COM, INC.

        1.      On December 10, 2021, and at all relevant times, Defendant, AMAZON INC.,

operated, maintained, managed, and/or controlled a “delivery station” known as “DLI4” located

in Edwardsville, Illinois.

        2.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have a basement shelter even though Defendant, AMAZON INC., knew or should

have known that the Edwardsville, Illinois area was an area prone to tornadoes and inclement,

high-wind events.

        3.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have a “safe room” consistent with FEMA P-360 and FEMA P-361 even though

Defendant, AMAZON INC., knew or should have known that the Edwardsville, Illinois area was

an area prone to tornadoes and inclement, high-wind events.




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       4.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have a “best available refugee area” consistent with FEMA P-431 even though

Defendant, AMAZON INC., knew or should have known that the Edwardsville, Illinois area was

an area prone to tornadoes and inclement, high-wind events.

       5.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have an Emergency Action Plan (EAP) pursuant to OSHA 1910.38 (a-f) even

though Defendant, AMAZON INC., knew or should have known that the Edwardsville, Illinois

area was an area prone to tornadoes and inclement, high-wind events.

       6.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” was operated, maintained, managed, and/or controlled by employees and/or agents of

Defendant, AMAZON INC.

       7.      On December 10, 2021, and at all relevant times, employees working for

Defendant, AMAZON LOGISTICS, and other entities were directed and controlled by Defendant,

AMAZON INC.

       8.      On December 10, 2021, and at all relevant times, decedent, AUSTIN McEWEN,

was not an employee of Defendant, AMAZON INC., but instead an employee and/or agent of an

independently contracted Delivery Service Partner contracted to drive an “Amazon” commercial

vehicle to make deliveries on behalf of Defendant, AMAZON INC.

       9.      On December 10, 2021 and at all relevant times, Defendant, AMAZON INC.,

controlled, directed, and/or instructed decedent, AUSTIN McEWEN, which included controlling,

directing, and/or instructing decedent, AUSTIN McEWEN, on the operative details of his work,

including but not limited to, controlling the deliveries he was to make, controlling the routes he

was to take, requiring him to wear a uniform and/or apparel that displayed the name “Amazon” on



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it, requiring him to follow policies and procedures of Defendant, AMAZON INC., controlling the

number of deliveries he was to make during a shift, monitoring and scoring his work performance,

requiring him to share his phone data, and having the means to terminate him.

       10.     On December 10, 2021 and at all relevant times, Defendant, AMAZON INC, was

the alter ego of Defendant, AMAZON LOGISTICS.

       11.     On December 10, 2021, at approximately 8:28 p.m. an EF-3 tornado began on the

south side of Interstate 270 and moved northeast striking the subject Amazon “delivery station”

known as “DLI4” causing parts of the center’s walls to collapse and other multiple structure

failures which resulted in numerous injuries and the deaths of six individuals, one being decedent,

AUSTIN McEWEN.

       12.     On and before December 10, 2021, Defendant, AMAZON INC., did not employ or

maintain a meteorologist to forecast inclement and dangerous weather developments, including

tornados.

       13.     Following December 10, 2021, Defendant, AMAZON INC., posted online a job

post for a “Chief Meteorologist” to be responsible for daily forecasts for thousands of global

Amazon locations.

       14.     On December 10, 2021, Defendant, AMAZON INC., knew or should have known

that tornadoes were possible at or near the subject “delivery station” as early as or near 3:44 a.m.

on Thursday, December 9, 2021, when the National Weather Service issued the following weather

warning: “There is chance of thunderstorms late Friday afternoon into the night across

southeastern and east-central Missouri as well as south-central and southwestern Illinois. A few

thunderstorms could become strong to severe in southeastern Missouri and southwestern Illinois




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late Friday evening into night. The main threat will be strong to damage wind gusts, but a tornado

is also possible.”

       15.     On December 10, 2021, Defendant, AMAZON INC., again knew or should have

known that tornadoes were possible at or near the subject “delivery station” when the National

Weather Service on December 9, 2021, at or near 2:58 p.m. reported: “Scattered severe storms are

possible across southeast Missouri and southwest Illinois between 8:00 p.m. Friday night and 3:00

a.m. early Saturday. Any storms that develop will be fast moving. The primary threat with these

storms will be damaging winds. A few tornadoes will be possible as well.”

       16.     On December 10, 2021, Defendant, AMAZON INC., again knew or should have

known that tornadoes were possible at or near the subject “delivery station” when the National

Weather Service issued a Tornado Watch #553 at or near 5:20 p.m., which included Madison

County, Illinois, indicating “conditions are favorable for tornadoes” and holding that there was a

70% chance of two or more tornadoes.

       17.     On December 10, 2021, at or near 8:06 p.m., the National Weather Service issued

a “take shelter now” tornado warning for the Edwardsville, Illinois area.

       18.     Despite having numerous warnings from the National Weather Service or other

advisories that the Edwardsville, Illinois area was at-risk of devastating weather and/or tornadoes,

Defendant, AMAZON INC., had workers and independently contracted Deliver Service Partners

working during a holiday “peak season” until moments before the EF-3 tornado obliterated the

subject “delivery station” in Edwardsville, Illinois.

       19.     At all times on December 10, 2021, Defendant, AMAZON INC., knew or should

have known and foreseen that the subject “delivery station” was in an area that could sustain

devastating weather and/or a tornado on December 10, 2021.



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       20.    On December 10, 2021, and at all relevant times, Defendant, AMAZON INC., had

duties to exercise reasonable care in its operation, management, and/or control of the subject

“delivery station” and towards all workers present at the center, including but not limited to,

independently contracted DSP contractors including decedent, AUSTIN McEWEN, to prevent

them from sustaining injuries and death.

       21.    Notwithstanding its duties, on December 10, 2021 and all relevant times,

Defendant, AMAZON INC., by and through its agents and employees, failed to exercise

reasonable care in the following manners:

       a.     Failed to evacuate all those present at the subject “delivery station” when
              Defendant knew or should have known that keeping individuals working at
              the center, including decedent, Austin McEwen, placed them in imminent
              danger when Defendant knew or should have known the area was at-risk of
              a tornado;

       b.     Failed to properly monitor the developing inclement weather at or near
              Edwardsville, Illinois to timely implement life-saving tornado
              preparedness and response procedures such as timely evacuating the
              facility;

       c.     Failed to operate, maintain and manage a warehouse in an area prone to
              tornadoes that was equipped with a basement shelter;

       d.     Failed to operate, maintain and manage a warehouse in an area prone to
              tornadoes that was equipped with a “safe room” consistent with FEMA P-
              320 and FEMA P-361;

       e.     Failed to operate, maintain and manage a warehouse in an area prone to
              tornadoes that was equipped with a “best available refugee area” consistent
              with FEMA P- 431;

       f.     Failed to operate, maintain, and manage a warehouse in an area prone to
              tornadoes that was built to withstand tornado size gusts;

       g.     Failed to ensure that all individuals at the subject warehouse were aware of
              the safest place to shelter despite the “delivery station” not having a
              basement shelter, “safe room,” or “best available refugee area;”




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h.   Failed to have a qualified architect or engineer designate the “best available
     refugee area” per FEMA P-431;

i.   Failed to have a proper Emergency Action Plan meeting the requirements
     of OSHA 29 CFR 1910.38;

j.   Failed to properly educate and train individuals at the subject “delivery
     station” on a proper Emergency Action Plan in the event of a tornado or
     severe weather;

k.   Failed to review an Emergency Action Plan with each individual per OSHA
     1910.38 (e);

l.   Failed to have a proper alarm and/or warning in place at the subject
     “delivery station” per OSHA 1910.38 (d) and 1910.165 to warn those at
     the subject “delivery station” of the approaching tornado known or should
     have been known;

m.   Carelessly required individuals including decedent, Austin McEwen, to
     continue working up until the moments before the tornado struck when
     Defendant knew or should have known that a tornado was imminent and
     had ample time to evacuate;

n.   Improperly directed individuals including decedent, Austin McEwen, to
     shelter in a bathroom when Defendant knew or should have known that a
     bathroom was not a safe or proper area to shelter;

o.   Failed to hold safety meetings with individuals including decedent, Austin
     McEwen, in advance of December 10, 2021, to prepare individuals on the
     safest course of action to take if a tornado is imminent;

p.   Failed to timely inform individuals at the subject “delivery station” that a
     tornado was approaching so those individuals had adequate time to
     properly shelter and/or evacuate;

q.   Carelessly directed employees and/or independent drivers to return back to
     the subject “delivery station” when Defendant knew or should have
     known that a tornado was approaching the area;

r.   Failed to employ one that was responsible for tracking and monitoring
     severe or inclement weather;

s.   Failed to provide a warehouse that was built in compliance with
     International Building Code Section 1604;

t.   Were otherwise careless and negligent.

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       22.     As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

       23.     At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.

       24.     Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, AMAZON.COM, INC.,

in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

            COUNT II: SURVIVAL ACT: NEGLIGENCE: AMAZON.COM, INC.

       1.      Plaintiff re-alleges Paragraphs 1-21 of Count I for Paragraph 1 of Count II.

       2.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.

       3.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.

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       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, AMAZON.COM, INC.,

in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

   COUNT III: WRONGFUL DEATH: NEGLIGENCE: AMAZON LOGISTICS, INC.

       1.      On December 10, 2021, and at all relevant times, Defendant, AMAZON

LOGISTICS, operated, maintained, managed, and/or controlled a “delivery station” known as

“DLI4” located in Edwardsville, Illinois.

       2.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have a basement shelter even though Defendant, AMAZON LOGISTICS, knew

or should have known that the Edwardsville, Illinois area was an area prone to tornadoes and

inclement, high-wind events.

       3.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have a “safe room” consistent with FEMA P-360 and FEMA P-361 even though

Defendant, AMAZON LOGISTICS, knew or should have known that the Edwardsville, Illinois

area was an area prone to tornadoes and inclement, high-wind events.

       4.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have a “best available refugee area” consistent with FEMA P-431 even though

Defendant, AMAZON LOGISTICS, knew or should have known that the Edwardsville, Illinois

area was an area prone to tornadoes and inclement, high-wind events.

       5.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” did not have an Emergency Action Plan (EAP) pursuant to OSHA 1910.38 (a-f) even

though Defendant, AMAZON LOGISTICS, knew or should have known that the Edwardsville,

Illinois area was an area prone to tornadoes and inclement, high-wind events.



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       6.      On December 10, 2021, and at all relevant times, the “delivery station” known as

“DLI4” was operated, maintained, managed, and/or controlled by employees and/or agents of

Defendant, AMAZON LOGISTICS.

       7.      On December 10, 2021, and at all relevant times, decedent, AUSTIN McEWEN,

was not an employee of Defendant, AMAZON LOGISTICS, but instead an employee and/or agent

of an independently contracted Delivery Service Partner contracted to drive an “Amazon”

commercial vehicle to make deliveries on behalf of Defendant, AMAZON LOGISTICS.

       8.      On December 10, 2021 and at all relevant times, Defendant, AMAZON

LOGISTICS, controlled, directed, and/or instructed decedent, AUSTIN McEWEN, which

included controlling, directing, and/or instructing decedent, AUSTIN McEWEN, on the operative

details of his work, including but not limited to, controlling the deliveries he was to make,

controlling the routes he was to take, requiring him to wear a uniform and/or apparel that displayed

the name “Amazon” on it, requiring him to follow policies and procedures of Defendant,

AMAZON LOGISTICS, controlling the number of deliveries he was to make during a shift,

monitoring and scoring his work performance, requiring him to share his phone data, and having

the means to terminate him.

       9.      On December 10, 2021, at approximately 8:28 p.m. an EF-3 tornado began on the

south side of Interstate 270 and moved northeast striking the subject Amazon “delivery station”

known as “DLI4” causing parts of the center’s walls to collapse and other multiple structure

failures which resulted in numerous injuries and the deaths of six individuals, one being decedent,

AUSTIN McEWEN.




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       10.     On and before December 10, 2021, Defendant, AMAZON LOGISTICS, did not

employ or maintain a meteorologist to forecast inclement and dangerous weather developments,

including tornados.

       11.     Following December 10, 2021, Defendant, AMAZON LOGISTICS, posted online

a job post for a “Chief Meteorologist” to be responsible for daily forecasts for thousands of global

Amazon locations.

       12.     On December 10, 2021, Defendant, AMAZON LOGISTICS, knew or should have

known that tornadoes were possible at or near the subject “delivery station” as early as or near

3:44 a.m. on Thursday, December 9, 2021, when the National Weather Service issued the

following weather warning: “There is chance of thunderstorms late Friday afternoon into the night

across southeastern and east-central Missouri as well as south-central and southwestern Illinois.

A few thunderstorms could become strong to severe in southeastern Missouri and southwestern

Illinois late Friday evening into night. The main threat will be strong to damage wind gusts, but a

tornado is also possible.”

       13.     On December 10, 2021, Defendant, AMAZON LOGISTICS, again knew or should

have known that tornadoes were possible at or near the subject “delivery station” when the

National Weather Service on December 9, 2021, at or near 2:58 p.m. reported: “Scattered severe

storms are possible across southeast Missouri and southwest Illinois between 8:00 p.m. Friday

night and 3:00 a.m. early Saturday. Any storms that develop will be fast moving. The primary

threat with these storms will be damaging winds. A few tornadoes will be possible as well.”

       14.     On December 10, 2021, Defendant, AMAZON LOGISTICS, again knew or should

have known that tornadoes were possible at or near the subject “delivery station” when the

National Weather Service issued a Tornado Watch #553 at 5:20 p.m., which included Madison



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County, Illinois, indicating “conditions are favorable for tornadoes” and holding that there was a

70% chance of two or more tornadoes.

       15.     On December 10, 2021, at 8:06 p.m., the National Weather Service issued a “take

shelter now” tornado warning for the Edwardsville, Illinois area.

       16.     Despite having numerous warnings from the National Weather Service or other

advisories that the Edwardsville, Illinois area was at-risk of devastating weather and/or tornadoes,

Defendant, AMAZON LOGISTICS, had workers and independently contracted Deliver Service

Partners working during a holiday “peak season” until moments before the EF-3 tornado

obliterated the subject “delivery station” in Edwardsville, Illinois.

       17.     At all times on December 10, 2021, Defendant, AMAZON LOGISTICS, knew or

should have known and foreseen that the subject “delivery station” was in an area that could sustain

devastating weather and/or a tornado on December 10, 2021.

       18.     On December 10, 2021, and at all relevant times, Defendant, AMAZON

LOGISTICS, had duties to exercise reasonable care in its operation, management, and/or control

of the subject “delivery station” and towards all workers present at the center, including but not

limited to, independently contracted DSP contractors including decedent, AUSTIN McEWEN, to

prevent them from sustaining injuries and death.

       19.     Notwithstanding its duties, on December 10, 2021, and all relevant times,

Defendant, AMAZON LOGISTICS, by and through its agents and employees, failed to exercise

reasonable care in the following manners:

       a.      Failed to evacuate all those present at the subject “delivery station” when
               Defendant knew or should have known that keeping individuals working at
               the center, including decedent, Austin McEwen, placed them in imminent
               danger when Defendant knew or should have known the area was at-risk of
               a tornado;



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b.   Failed to properly monitor the developing inclement weather at or near
     Edwardsville, Illinois to timely implement life-saving tornado
     preparedness and response procedures such as timely evacuating the
     facility;

c.   Failed to operate, maintain and manage a warehouse in an area prone to
     tornadoes that was equipped with a basement shelter;

d.   Failed to operate, maintain and manage a warehouse in an area prone to
     tornadoes that was equipped with a “safe room” consistent with FEMA P-
     320 and FEMA P-361;

e.   Failed to operate, maintain and manage a warehouse in an area prone to
     tornadoes that was equipped with a “best available refugee area” consistent
     with FEMA P- 431;

f.   Failed to operate, maintain, and manage a warehouse in an area prone to
     tornadoes that was built to withstand tornado size gusts;

g.   Failed to ensure that all individuals at the subject warehouse were aware of
     the safest place to shelter despite the “delivery station” not having a
     basement shelter, “safe room,” or “best available refugee area;”

h.   Failed to have a qualified architect or engineer designate the “best available
     refugee area” per FEMA P-431;

i.   Failed to have a proper Emergency Action Plan meeting the requirements
     of OSHA 29 CFR 1910.38;

j.   Failed to properly educate and train individuals at the subject “delivery
     station” on a proper Emergency Action Plan in the event of a tornado or
     severe weather;

k.   Failed to review an Emergency Action Plan with each individual per OSHA
     1910.38 (e);

l.   Failed to have a proper alarm and/or warning in place at the subject
     “delivery station” per OSHA 1910.38 (d) and 1910.165 to warn those at
     the subject “delivery station” of the approaching tornado known or should
     have been known;

m.   Carelessly required individuals including decedent, Austin McEwen, to
     continue working up until the moments before the tornado struck when
     Defendant knew or should have known that a tornado was imminent and
     had ample time to evacuate;



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       n.      Improperly directed individuals including decedent, Austin McEwen, to
               shelter in a bathroom when Defendant knew or should have known that a
               bathroom was not a safe or proper area to shelter;

       o.      Failed to hold safety meetings with individuals including decedent, Austin
               McEwen, in advance of December 10, 2021, to prepare individuals on the
               safest course of action to take if a tornado is imminent;

       p.      Failed to timely inform individuals at the subject “delivery station” that a
               tornado was approaching so those individuals had adequate time to
               properly shelter and/or evacuate;

       q.      Carelessly directed employees and/or independent drivers to return back to
               the subject “delivery station ” when Defendant knew or should have
               known that a tornado was approaching the area;

       r.      Failed to employ one that was responsible for tracking and monitoring
               severe or inclement weather;

       s.      Failed to provide a warehouse that was built in compliance with
               International Building Code Section 1604;

       t.      Were otherwise careless and negligent.

       20.     As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

       21.     At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.

       22.     Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.




                                                  16
       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, AMAZON LOGISTICS,

INC. in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

      COUNT IV: SURVIVAL ACT: NEGLIGENCE: AMAZON LOGISTICS, INC.

       1.      Plaintiff re-alleges Paragraphs 1-19 of Count III for Paragraph 1 of Count IV.

       2.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.

       3.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, AMAZON LOGISTICS,

INC., in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

  COUNT V: WRONGFUL DEATH: CONSTRUCTION NEGLIGENCE: CONTEGRA
                  CONSTRUCTION COMPANY, LLC

       1.      On and before December 10, 2021, Defendant, CONTEGRA, was a construction

and development company that built commercial retail buildings, warehouses, office buildings,

and institutions.

       2.      Prior to December 10, 2021, Defendant, CONTEGRA, built, developed, and/or

constructed an Amazon “delivery station” known as “DLI4” located in Edwardsville, Illinois.




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Defendant, CONTEGRA, was under contract with Defendants, AMAZON INC, AMAZON

LOGISTICS, and/or TRISTAR, to build, develop and/or construct the subject warehouse.

       3.      Prior to December 10, 2021 and during all phases of the construction of the subject

warehouse, Defendant, CONTEGRA, individually and through its agents, servants, and/or

employees was present during the course of such construction and Defendant, CONTEGRA,

participated, orchestrated, managed, supervised, controlled, directed, and/or was in charge of the

work being done at the aforesaid project including but not limited to directing the means, methods

and operative details of the work being done by on-site workers, including but not limited to

workers of Defendant, TRISTAR. The Defendant, CONTEGRA, individually and through its

agents, servants, and/or employees participated in coordinating the work being done and

designated various work methods, had a responsibility to maintain a safe premise for all workers,

maintained and checked work progress, and participated in the scheduling of the work and

inspection of the work.

       4.      That at all relevant times, Defendant, CONTEGRA, had a duty to exercise

reasonable care in its build, planning, and construction of the subject “delivery station” located in

Edwardsville, Illinois

       5.      Notwithstanding its duties, at said time and place, Defendant, CONTEGRA, by and

through its agents, servants and employees, was then and there guilty of one or more of the

following careless and negligent acts and/or omissions:

       a.      Built and/or constructed the subject “delivery station” without a basement
               or actual shelter that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       b.      Built and/or constructed the subject “delivery station” without a “safe
               room” that could provide shelter when Defendant knew that



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               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       c.      Failed to recommend that the subject “delivery station” be built with a
               basement shelter, shelter or “safe room” that could provide shelter when
               Defendant knew that Edwardsville, Illinois was prone to inclement, severe
               weather and/or tornadoes;

       d.      Built and/or constructed the subject “delivery station” in a “tilt-up” wall
               construction manner when Defendant knew or should have known that this
               manner of construction causes walls to fall when struck with high winds
               and knew that Edwardsville, Illinois was prone to inclement, severe
               weather and tornadoes;

       e.      Failed to adequately build the subject “delivery station” in a manner to
               prevent walls from collapsing and the roof from separating when struck with
               high winds when Defendant knew that Edwardsville, Illinois was prone to
               inclement, severe weather and tornadoes;

       f.      Failed to build the subject “delivery station” pursuant to all local, state,
               and federal codes that prevented structural collapse due to inclement
               weather;

       g.      Failed to provide a warehouse that was built in compliance with
               International Building Code Section 1604;

       h.      Was otherwise careless and negligent.

       6.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

       7.      At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.




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       8.       Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, CONTEGRA

CONSTRUCTION COMPANY, LLC, in an amount in excess of Fifty-Thousand Dollars

($50,000.00).

    COUNT VI: SURVIVAL ACT: NEGLIGENCE: CONTEGRA CONSTRUCTION
                            COMPANY, LLC

       1.       Plaintiff re-alleges Paragraphs 1-5 of Count V for Paragraph 1 of Count VI

       2.       As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.

       3.       Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, CONTEGRA

CONSTRUCTION , LLC, in an amount in excess of Fifty-Thousand Dollars ($50,000.00).




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   COUNT VII: WRONGFUL DEATH: CONSTRUCTION NEGLIGENCE: TRISTAR
                     PROPERTY ASSOCIATES, LLC

        1.      On and before December 10, 2021, Defendant, TRISTAR, was a construction and

development company that builds commercial retail buildings, warehouses, office buildings, and

institutions.

        2.      Prior to December 10, 2021, Defendant, TRISTAR, built, developed, and/or

constructed an Amazon “delivery station” known as “DLI4” located in Edwardsville, Illinois.

Defendant, TRISTAR, was under contract with Defendants, AMAZON INC. AMAZON

LOGISTICS and/or CONTEGRA, to build, develop and/or construct the subject warehouse.

        3.      Prior to December 10, 2021 and during all phases of the construction of the subject

warehouse, Defendant, TRISTAR, individually and through its agents, servants, and/or employees

was present during the course of such construction and Defendant, TRISTAR, participated,

orchestrated, managed, supervised, controlled, directed, and/or was in charge of the work being

done at the aforesaid project including but not limited to directing the means, methods and

operative details of the work being done by on-site workers, including but not limited to workers

of Defendant, TRISTAR. The Defendant, TRISTAR, individually and through its agents, servants,

and/or employees participated in coordinating the work being done and designated various work

methods, had a responsibility to maintain a safe premise for all workers, maintained and checked

work progress, and participated in the scheduling of the work and inspection of the work.

        4.      That at all relevant times, Defendant, TRISTAR, had a duty to exercise reasonable

care in its build, planning, and construction of the subject “delivery station” located in

Edwardsville, Illinois




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       5.      Notwithstanding its duties, at said time and place, Defendant, TRISTAR, by and

through its agents, servants and employees, was then and there guilty of one or more of the

following careless and negligent acts and/or omissions:

       a.      Built and/or constructed the subject “delivery station” without a basement
               or actual shelter that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       b.      Built and/or constructed the subject “delivery station” without a “safe
               room” that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       c.      Failed to recommend that the subject “delivery station” be built with a
               basement shelter, shelter or “safe room” that could provide shelter when
               Defendant knew that Edwardsville, Illinois was prone to inclement, severe
               weather and/or tornadoes;

       d.      Built and/or constructed the subject “delivery station” in a “tilt-up” wall
               construction manner when Defendant knew or should have known that this
               manner of construction causes walls to fall when struck with high winds
               and knew that Edwardsville, Illinois was prone to inclement, severe
               weather and tornadoes;

       e.      Failed to adequately build the subject “delivery station” in a manner to
               prevent walls from collapsing and the roof from separating when struck with
               high winds when Defendant knew that Edwardsville, Illinois was prone to
               inclement, severe weather and tornadoes;

       f.      Failed to build the subject “delivery station” pursuant to all local, state,
               and federal codes that prevented structural collapse due to inclement
               weather;

       g.      Failed to provide a warehouse that was built in compliance with
               International Building Code Section 1604;

       h.      Was otherwise careless and negligent.

       6.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

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       7.      At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.

       8.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, TRISTAR PROPERTY

ASSOCIATES, LLC, in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

COUNT VIII: SURVIVAL ACT: NEGLIGENCE: TRISTAR PROPERTY ASSOCIATES,
                                LLC

       1.      Plaintiff re-alleges Paragraphs 1-5 of Count VII for Paragraph 1 of Count VIII.

       2.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.

       3.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, TRISTAR PROPERTY

ASSOCIATES, LLC, in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

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      COUNT IX: WRONGFUL DEATH: STOCK & ASSOCIATES CONSULTING
                          ENGINEERS, INC.

       1.      On and before December 10, 2021, Defendant, STOCK, was a civil engineering

company that provided engineering services towards the build of the subject delivery station in

Edwardsville, Illinois.

builds commercial retail buildings, warehouses, office buildings, and institutions.

       2.      Prior to December 10, 2021, Defendant, STOCK, built, developed, provided

engineering services, and/or constructed the Amazon “delivery station” known as “DLI4” located

in Edwardsville, Illinois. Defendant, STOCK, was under contract with Defendants, AMAZON

INC. AMAZON LOGISTICS and/or CONTEGRA, to assist in the build, develop and/or construct

the subject warehouse.

       3.      Prior to December 10, 2021 and during all phases of the construction of the subject

warehouse, Defendant, STOCK, individually and through its agents, servants, and/or employees

was present during the course of such construction and Defendant, STOCK, participated,

orchestrated, managed, supervised, controlled, directed, and/or was in charge of the work being

done at the aforesaid project including but not limited to directing the means, methods and

operative details of the work being done by on-site workers, including but not limited to workers

of Defendant, STOCK. The Defendant, STOCK, individually and through its agents, servants,

and/or employees participated in coordinating the work being done and designated various work

methods, had a responsibility to maintain a safe premise for all workers, maintained and checked

work progress, and participated in the scheduling of the work and inspection of the work.

       4.      That at all relevant times, Defendant, STOCK, had a duty to exercise reasonable

care in its build, planning, and construction of the subject “delivery station” located in

Edwardsville, Illinois

                                                24
       5.      Notwithstanding its duties, at said time and place, Defendant, STOCK, by and

through its agents, servants and employees, was then and there guilty of one or more of the

following careless and negligent acts and/or omissions:

       a.      Built and/or constructed the subject “delivery station” without a basement
               or actual shelter that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       b.      Built and/or constructed the subject “delivery station” without a “safe
               room” that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       c.      Failed to recommend that the subject “delivery station” be built with a
               basement shelter, shelter or “safe room” that could provide shelter when
               Defendant knew that Edwardsville, Illinois was prone to inclement, severe
               weather and/or tornadoes;

       d.      Built and/or constructed the subject “delivery station” in a “tilt-up” wall
               construction manner when Defendant knew or should have known that this
               manner of construction causes walls to fall when struck with high winds
               and knew that Edwardsville, Illinois was prone to inclement, severe
               weather and tornadoes;

       e.      Failed to adequately build the subject “delivery station” in a manner to
               prevent walls from collapsing and the roof from separating when struck with
               high winds when Defendant knew that Edwardsville, Illinois was prone to
               inclement, severe weather and tornadoes;

       f.      Failed to build the subject “delivery station” pursuant to all local, state,
               and federal codes that prevented structural collapse due to inclement
               weather;

       g.      Failed to provide a warehouse that was built in compliance with
               International Building Code Section 1604;

       h.      Was otherwise careless and negligent.

       6.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

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       7.       At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.

       8.       Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Special Administrator of the Estate of

AUSTIN McEWEN, deceased, prays for judgment against Defendant, STOCK & ASSOCIATES

CONSULTING ENGINEERS, INC., in an amount in excess of Fifty-Thousand Dollars

($50,000.00).

COUNT X: SURVIVAL ACT: NEGLIGENCE: STOCK & ASSOCIATES CONSULTING
                          ENGINEERS, INC.

       1.       Plaintiff re-alleges Paragraphs 1-5 of Count IX for Paragraph 1 of Count X

       2.       As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.

       3.       Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, STOCK &

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ASSOCIATES CONSULTING ENGINEERS, INC., in an amount in excess of Fifty-Thousand

Dollars ($50,000.00).

            COUNT XI: WRONGFUL DEATH: GRAY DESIGN GROUP, INC.

       1.      On and before December 10, 2021, Defendant, GRAY, was an architectural

company that provided architectural services towards the build of the subject delivery station in

Edwardsville, Illinois.

       2.      Prior to December 10, 2021, Defendant, GRAY, built, developed, provided

architectural services, and/or constructed the Amazon “delivery station” known as “DLI4” located

in Edwardsville, Illinois. Defendant, GRAY, was under contract with Defendants, AMAZON INC.

AMAZON LOGISTICS, TRISTAR and/or CONTEGRA, to assist in the build, develop and/or

construct the subject warehouse.

       3.      Prior to December 10, 2021 and during all phases of the construction of the subject

warehouse, Defendant, GRAY, individually and through its agents, servants, and/or employees

was present during the course of such construction and Defendant, GRAY, participated,

orchestrated, managed, supervised, controlled, directed, and/or was in charge of the work being

done at the aforesaid project including but not limited to directing the means, methods and

operative details of the work being done by on-site workers, including but not limited to workers

of Defendant, GRAY. The Defendant, GRAY, individually and through its agents, servants, and/or

employees participated in coordinating the work being done and designated various work methods,

had a responsibility to maintain a safe premise for all workers, maintained and checked work

progress, and participated in the scheduling of the work and inspection of the work.




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       4.      That at all relevant times, Defendant, GRAY, had a duty to exercise reasonable care

in its build, planning, design, specifications, and construction of the subject “delivery station”

located in Edwardsville, Illinois

       5.      Notwithstanding its duties, at said time and place, Defendant, GRAY, by and

through its agents, servants and employees, was then and there guilty of one or more of the

following careless and negligent acts and/or omissions:

       a.      Built and/or constructed the subject “delivery station” without a basement
               or actual shelter that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       b.      Built and/or constructed the subject “delivery station” without a “safe
               room” that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       c.      Failed to recommend that the subject “delivery station” be built with a
               basement shelter, shelter or “safe room” that could provide shelter when
               Defendant knew that Edwardsville, Illinois was prone to inclement, severe
               weather and/or tornadoes;

       d.      Built and/or constructed the subject “delivery station” in a “tilt-up” wall
               construction manner when Defendant knew or should have known that this
               manner of construction causes walls to fall when struck with high winds
               and knew that Edwardsville, Illinois was prone to inclement, severe
               weather and tornadoes;

       e.      Failed to adequately build the subject “delivery station” in a manner to
               prevent walls from collapsing and the roof from separating when struck with
               high winds when Defendant knew that Edwardsville, Illinois was prone to
               inclement, severe weather and tornadoes;

       f.      Failed to build the subject “delivery station” pursuant to all local, state,
               and federal codes that prevented structural collapse due to inclement
               weather;
       g.      Failed to provide a warehouse that was built in compliance with
               International Building Code Section 1604;

       h.      Was otherwise careless and negligent.



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       6.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

       7.      At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.

       8.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Special Administrator of the Estate of

AUSTIN McEWEN, deceased, prays for judgment against Defendant, GRAY DESIGN GROUP,

INC., in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

     COUNT XII: SURVIVAL ACT: NEGLIGENCE: GRAY DESIGN GROUP, INC.

       1.      Plaintiff re-alleges Paragraphs 1-5 of Count XI for Paragraph 1 of Count XII.

       2.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.

       3.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.



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       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, GRAY DESIGN

GROUP, INC., in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

  COUNT XIII: WRONGFUL DEATH: NEGLIGENCE: MCNEALY ENGINEERING,
                               INC.

       1.      On and before December 10, 2021, Defendant, MCNEALY, was a structural

engineering firm based in St. Louis, Missouri that provides architectural restoration, structural

engineering, and architectural engineering services including such services for the subject

“delivery station” known as DLI4 in Edwardsville, Illinois.

       2.      Prior to December 10, 2021, Defendant, MCNEALY, built, developed, provided

architectural services, structural engineering services, and/or constructed the Amazon “delivery

station” known as “DLI4” located in Edwardsville, Illinois. Defendant, MCNEALY, was under

contract with Defendants, AMAZON INC. AMAZON LOGISTICS, TRISTAR, STOCK, GRAY

and/or CONTEGRA, to assist in the build, develop and/or construct the subject warehouse.

       3.      Prior to December 10, 2021 and during all phases of the construction of the subject

warehouse, Defendant, MCNEALY, individually and through its agents, servants, and/or

employees was present during the course of such construction and Defendant, MCNEALY,

participated, orchestrated, managed, supervised, controlled, directed, and/or was in charge of the

work being done at the aforesaid project including but not limited to directing the means, methods

and operative details of the work being done by on-site workers, including but not limited to

workers of Defendant, MCENALY. The Defendant, MCNEALY, individually and through its

agents, servants, and/or employees participated in coordinating the work being done and

designated various work methods, had a responsibility to maintain a safe premise for all workers,




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maintained and checked work progress, and participated in the scheduling of the work and

inspection of the work.

       4.      That at all relevant times, Defendant, MCNEALY, had a duty to exercise

reasonable care in its build, planning, design, specifications, and construction of the subject

“delivery station” located in Edwardsville, Illinois

       5.      Notwithstanding its duties, at said time and place, Defendant, MCNEALY, by and

through its agents, servants and employees, was then and there guilty of one or more of the

following careless and negligent acts and/or omissions:

       a.      Built and/or constructed the subject “delivery station” without a basement
               or actual shelter that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       b.      Built and/or constructed the subject “delivery station” without a “safe
               room” that could provide shelter when Defendant knew that
               Edwardsville, Illinois was prone to inclement weather including but not
               limited to tornadoes;

       c.      Failed to recommend that the subject “delivery station” be built with a
               basement shelter, shelter or “safe room” that could provide shelter when
               Defendant knew that Edwardsville, Illinois was prone to inclement, severe
               weather and/or tornadoes;

       d.      Built and/or constructed the subject “delivery station” in a “tilt-up” wall
               construction manner when Defendant knew or should have known that this
               manner of construction causes walls to fall when struck with high winds
               and knew that Edwardsville, Illinois was prone to inclement, severe
               weather and tornadoes;

       e.      Failed to adequately build the subject “delivery station” in a manner to
               prevent walls from collapsing and the roof from separating when struck with
               high winds when Defendant knew that Edwardsville, Illinois was prone to
               inclement, severe weather and tornadoes;

       f.      Failed to build the subject “delivery station” pursuant to all local, state,
               and federal codes that prevented structural collapse due to inclement
               weather;



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       g.      Failed to provide a warehouse that was built in compliance with
               International Building Code Section 1604;

       h.      Was otherwise careless and negligent.

       6.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries that resulted in his death.

       7.      At the time of decedent’s death, AUSTIN McEWEN, left surviving a mother, Alice

McEwen, and father, Randy McEwen, who have and will continue to suffer damages of a personal,

pecuniary, and non-pecuniary nature, including great loss of society and companionship of

decedent, AUSTIN McEWEN.

       8.      Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Wrongful

Death Act of Illinois, 740 ILCS 180/1 et. seq.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Special Administrator of the Estate of

AUSTIN McEWEN, deceased, prays for judgment against Defendant, MCNEALY

ENGINEERING, INC., in an amount in excess of Fifty-Thousand Dollars ($50,000.00).

  COUNT XIV: SURVIVAL ACT: NEGLIGENCE: MCNEALY ENGINEERING, INC.

       1.      Plaintiff re-alleges Paragraphs 1-5 of Count XIII for Paragraph 1 of Count XIV.

       2.      As a direct and proximate cause of one or more of the aforementioned careless

negligent acts and/or omissions of Defendant, the Plaintiff’s decedent, AUSTIN McEWEN,

suffered serious injuries of a personal and pecuniary nature, including but not limited to pain and

suffering, and would have been entitled to recover for these damages had he not died from

Defendant’s conduct.




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       3.     Plaintiff, ALICE McEWEN, has been duly appointed Independent Administrator

of the Estate of AUSTIN McEWEN, deceased, and brings this action pursuant to the Survival Act

at 755 ILCS 5/27-6.

       WHEREFORE, Plaintiff, ALICE McEWEN, as Independent Administrator of the Estate

of AUSTIN McEWEN, deceased, prays for judgment against Defendant, MCNEALY

ENGINEERING, INC., in an amount in excess of Fifty-Thousand Dollars ($50,000.00).



                             /s/ Jack J. Casciato

                             Jack J. Casciato, One of the attorneys for Plaintiff


                             /s/ John Malec
                             John Malec, One of the attorneys for Plaintiff


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